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Belkys Escobar (VSB #74866)
Deputy County Attorney
COUNTY of LOUDOUN
One Harrison St, SE, 5th floor
P.O. Box 7000
Leesburg, Virginia 20177-7000
Telephone: (703) 777-0307
Telecopier: (703) 771-5025




                                 UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    IN RE:
    FRANCHISE GROUP, INC.,                              Case No. 24-12480-JTD
                                                        Chapter 11
              Debtor.



                                      NOTICE OF APPEARANCE

              REQUEST IS HEREBY MADE, pursuant to FED. R. BANKR. PRO. 2002, 9007 and
    9010(b), that all notices given or required to be given in this case and all papers, pleadings,
    motions, applications, plans and disclosure statements (if applicable) served or required to be
    served in this case be directed to the undersigned counsel for the COUNTY OF LOUDOUN,
    VIRGINIA, whose office address, post office address, electronic mail address, telephone and
    facsimile numbers are set forth below. Specifically requested is anything filed in relation to the
    sale of assets.

                                                        Respectfully submitted,
                                                        The COUNTY of LOUDOUN, VIRGINIA
                                                        By counsel

    LEO P. ROGERS
    COUNTY ATTORNEY

    By /s/ Belkys Escobar
      Belkys Escobar (VSB #74866)
      Deputy County Attorney
      One Harrison Street, S.E., 5th Floor
      P.O. Box 7000
      Leesburg, Virginia 20177-7000
      Telephone: (703) 777-0307
      Telecopier: (703) 771-5025
      E-mail: belkys.escobar@loudoun.gov
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                             CERTIFICATE OF SERVICE
        I certify that on December 12, 2024, a copy of the foregoing Notice was served by
ELECTRONIC MAIL through the Court’s electronic filing system or by FIRST CLASS MAIL
to the parties indicated below:

Shella Borovinskaya                            Timothy Jay Fox, Jr.
sborovinskaya@ycst.com                         Office of the United States Trustee
Counsel for Debtor                             U. S. Department of Justice
                                               844 King Street, Suite 2207
                                               Lockbox #35
                                               Wilmington, DE 19801
                                               timothy.fox@usdoj.gov

                                                /s/ Belkys Escobar
